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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE


  IN RE: VALSARTAN, LOSARTAN, AND MDL No. 2875
  IRBESARTAN PRODUCTS LIABILITY
  LITIGATION                      Honorable Robert B. Kugler,
                                  District Court Judge

  This Document Relates to All Actions
                                              Oral Argument Requested


     TPP TRIAL DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
            EXCLUDE THE OPINIONS OF DR. RENA CONTI
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                            PRELIMINARY STATEMENT

        Despite spending more than 40 pages defending Dr. Conti’s speculative

  damages analysis, plaintiffs—like Dr. Conti—still cannot cite a single piece of

  economic literature supporting Dr. Conti’s assumption that an adulterated but

  clinically efficacious drug provides zero value. Plaintiffs also fail to establish that

  Dr. Conti is capable of calculating damages for the subclasses at issue in the

  upcoming TPP trial with the limited data she has or even that the data she has are

  reliable in the first place. Instead, plaintiffs sidestep these problems and ask the Court

  to accept Dr. Conti’s opinions based on nothing more than her say-so that those

  opinions are reliable, even where the assumptions baked into her opinions are

  contradicted by common sense, basic economic principles and the creators of the

  very data she uses to calculate damages. For all of these reasons, discussed further

  below, her opinions should be excluded.

                                      ARGUMENT

  I.    PLAINTIFFS ARE INCORRECT THAT DR. CONTI’S OPINIONS FIT
        THE FACTS OF THE UPCOMING TRIAL.

        As explained in defendants’ motion, although the subclasses in the upcoming

  trial are defined by the state where each TPP “paid any amount of money for” the

  VCDs at issue, Dr. Conti has admitted that the data she relies on only reflect the

  “pharmacy state,” not the state in which a TPP made the relevant payment. (Dep. of

  Rena Conti (“Conti 2/1/24 Dep.”) 67:3-13, Feb. 1, 2024 (Mem. Ex. 1); see also id.
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  68:14-69:2.) And because TPPs typically pay for medication via a PBM—which

  may be located in the TPP’s home state, pharmacy state or some other state—the

  state where the pharmacy is located will often not be the state in which a TPP “paid

  any amount of money” for the at-issue drugs, creating a fundamental mismatch

  between Dr. Conti’s model and what plaintiffs must prove at trial. See Ctr. City

  Periodontists, P.C. v. Dentsply Int’l, Inc., 321 F.R.D. 193, 204 (E.D. Pa. 2017)

  (excluding “model [that] does not distinguish between damages attributable to the

  specific breach alleged in this case or ‘something else’”).

        While the Court in its order denying defendants’ motion for decertification

  claimed that Dr. Conti could create “a translating mechanism . . . relying on IQVIA

  data” that “could convert where [Point of Sale] damages were paid into those TPP

  [Point of Purchase] locations” using a “computer subroutine” (ECF 2657 at 6-7),

  neither plaintiffs nor Dr. Conti have proposed any such mechanism, and defendants

  are aware of none. In fact, it is likely impossible that Dr. Conti could ever create or

  execute such a mechanism because, by Dr. Conti’s admission, neither she nor

  anyone else has access to the transaction-level data IQVIA uses and, as a result, she

  has no ability to match transactions from the point of purchase in the TPP data to

  specific payments at the point of sale. (See Conti 2/1/24 Dep. 81:7-82:11 (Dr. Conti

  confirming that “[n]o one,” herself included, has “access to IQVIA Xponent data

  before it is aggregated”—i.e., the “transaction level data”).)



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        In short, plaintiffs have not proposed any way that Dr. Conti is able to properly

  calculate damages for the subclasses at issue in the upcoming trial; nor does that

  appear possible with the data to which Dr. Conti has access. For this reason alone,

  her opinions are inadmissible and should be excluded from trial.

  II.   DR. CONTI’S WORTHLESSNESS OPINION IS UNRELIABLE.

        Even if Dr. Conti could properly calculate damages for the trial subclasses,

  her testimony would still be inadmissible because her opinion that the at-issue VCDs

  were worthless is inherently speculative and unreliable. That lack of reliability is

  borne out by Dr. Conti’s new deposition testimony, and none of plaintiffs’ arguments

  supports a different conclusion.

        First, plaintiffs’ continued reliance on the BCBS decision is unavailing since

  Judge Sánchez, there, much like the Court at class certification here, did not have

  the benefit of Dr. Conti’s concessions about how she calculates a product’s value—

  the fundamental underpinning of her “worthlessness” opinion—from her recent

  deposition. (See Opp’n at 22-24.) As explained in defendants’ opening brief, Dr.

  Conti testified in her recent deposition that a product’s “economic value” is its

  “market price.” (See Mem. at 18-20.) This highlights the absurdity of her position.

  Dr. Conti has never analyzed what the market price of valsartan would have been

  with the impurities, and neither she nor plaintiffs has provided a single piece of

  economic literature supporting Dr. Conti’s views that adulterated (but still



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  efficacious) drugs have no “legitimate” market price and are therefore worthless.

  Instead, plaintiffs continue to rely entirely on Dr. Conti’s say-so of how economics

  supposedly works. (See Opp’n at 10 & n.1 (plaintiffs claiming “no ‘literature’ is

  necessary” to support Dr. Conti’s views since it is “actually health economics 101”)

  (citation omitted).) But “nothing in either Daubert or the Federal Rules of Evidence

  requires a district court to admit opinion evidence that is connected to existing data

  only by the ipse dixit of the expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146

  (1997). Regardless of what the BCBS court found about Dr. Conti’s opinions and

  what this Court decided at class certification, Dr. Conti’s worthlessness opinion is

  facially illogical and entirely unsupported except by her own say-so, and it should

  be excluded. See Johnson Elec. N. Am. Inc. v. Mabuchi Motor Am. Corp., 103 F.

  Supp. 2d 268, 286 (S.D.N.Y. 2000).

        Second, the other authority plaintiffs cite that supposedly “sides with”

  admitting Dr. Conti’s unsupported and illogical opinions is inapposite. (Opp’n at

  23.) Neither Yachera nor Debernardis had anything to do with whether an expert

  economist like Dr. Conti applies a reliable methodology by assuming that an

  efficacious drug with trace impurities has zero value; nor was either court even

  presented with expert opinions at all. Rather, both cases merely analyzed, at the

  motion-to-dismiss stage, whether a plaintiff could establish “injury in fact” as a

  matter of standing when alleging that they purchased medication that worked as



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  intended and did not cause any adverse effects. Yachera v. Westminster Pharms.,

  LLC, 477 F. Supp. 3d 1251, 1263 (M.D. Fla. 2020); see also Debernardis v. IQ

  Formulations, LLC, 942 F.3d 1076, 1088 (11th Cir. 2019) (“Because the plaintiffs

  were deprived of the entire benefit of their bargain, we conclude they adequately

  alleged that they experienced economic loss.”). Needless to say, this litigation is less

  than two weeks from trial, and whether such allegations suffice as a matter of

  standing to create a cognizable legal claim at the motion-to-dismiss stage has no

  bearing on whether Dr. Conti has applied a reliable economic methodology such that

  her opinions should be admissible at trial.

         Third, plaintiffs misrepresent defendants’ experts’ and corporate witnesses’

  testimony in claiming that those witnesses “concede” that “the potential ‘therapeutic

  value’ of adulterated or misbranded VCDs is inconsequential to an economic

  damages analysis if the appropriate measure of damages is the benefit of the

  bargain,” and that “adulterated drugs . . . are economically worthless.” (Opp’n at 11,

  29.)

         For example, plaintiffs did not ask Mr. Kosty if he thought therapeutic value

  was relevant to a drug’s value; instead, they asked Mr. Kosty to “assume that even

  if a contaminated drug that works to lower blood pressure and, therefore, creates a

  clinical value . . . that drug is still worthless,” to which Mr. Kosty agreed that if one

  assumes “those hypotheticals and with those requirements”—i.e., assumes that the



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  clinical value of a drug is immaterial to a drug’s overall value—then the proper

  measure of damages is the full price of the drug. (Dep. of Timothy E. Kosty (“Kosty

  Dep.”) 144:16-145:3, Feb. 24, 2022 (emphasis added) (Opp’n Ex. F).) Asking Mr.

  Kosty to accept an assumption in a hypothetical question is hardly the same thing as

  Mr. Kosty agreeing that the assumption is correct. Similarly, neither of ZHP’s

  “corporate representatives” testified that “adulterated drugs . . . are economically

  worthless” (Opp’n at 11), only that ZHP stopped selling valsartan after it learned of

  the impurities (see Dep. of Eric Gu, Ph.D. 391:12-392:3, Apr. 6, 2021 (Opp’n Ex.

  H); Dep. of Min Li, Ph.D. 699:24-700:15, Apr. 22, 2021 (Opp’n Ex. K)). That

  plaintiffs have to resort to twisting witness testimony, but are apparently unable to

  address any of the authority defendants cite illustrating the commonsense notion that

  an efficacious drug is not worthless (see Mem. at 16-17 & n.7), speaks for itself.

         In short, plaintiffs do not meaningfully respond to any of defendants’

  arguments highlighting the unreliable nature of Dr. Conti’s worthlessness opinion,

  and her opinions should all be excluded on this ground as well.

  III.   DR. CONTI’S CALCULATIONS ARE UNRELIABLE.

         Plaintiffs also miss the mark in their attempts to defend Dr. Conti’s unreliable

  calculations, which are based on data that are not reliable for the purposes used by

  Dr. Conti. Each of these failings renders Dr. Conti’s calculations unreliable and

  inadmissible.



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        First, none of plaintiffs’ arguments about Dr. Conti’s failure to consider

  offsets under Medicare Part D (see Opp’n at 32-35) addresses the fundamental

  problem with her method. As the Third Circuit has explained, “[i]gnoring ‘the real

  world’” can “render[][an expert] opinion inadmissible.” Elcock v. Kmart Corp., 233

  F.3d 734, 756 (3d Cir. 2000); see also Edison Wetlands Ass’n v. Akzo Nobel Chems.,

  Inc., No. 08-419 (FSH), 2009 WL 5206280, at *6 (D.N.J. Dec. 22, 2009) (an

  “expert’s assumptions . . . cannot ignore the ‘real world’”). Rather than address that

  authority, plaintiffs rehash their arguments from their motion to exclude Wayne

  Gibson’s opinions, contending that evidence of offsets is barred by the collateral

  source rule and alternatively, that defendants “have utterly failed” to demonstrate

  the extent of such payments. (Opp’n at 32-34.) Those arguments miss the point. As

  defendants have explained in their opposition to that motion, the collateral source

  rule does not apply under the circumstances of this case or under the laws of several

  states at issue in the upcoming class trial (see ECF 2659 at 25-30), and defendants

  have demonstrated in great detail the existence of those offsets and the extent to

  which they apply to Dr. Conti’s calculations (see ECF 2659 at 18-21). The fact that

  Dr. Conti “[i]gnor[es] ‘the real world’” by refusing to consider how Medicare

  reimbursed the TPPs in light of that evidence is what renders her opinions unreliable

  and “inadmissible,” regardless of who will have the ultimate burden at trial. Elcock,

  233 F.3d at 756.



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        Moreover, it is of no moment that Dr. Conti “testified at length” about why

  she ignored the fact that several TPPs were reimbursed for purchases of at-issue

  VCDs through Medicare Part D since those reasons still result in a damages

  calculation wholly untethered to reality. (Opp’n at 33.) For example, while Dr. Conti

  asserts that “[she] [does]n’t really view those subsidies” as ones that apply because

  “they are subsidizing Medicare beneficiaries[’] access to insurance and making sure

  that Medicare beneficiaries can afford . . . to actually be covered” (Dep. of Rena

  Conti (“Conti Class Rep. Dep.”) 122:6-11, Feb. 10, 2022 (Mem. Ex. 6)), the fact that

  she does not like to “view” the subsidies that way does not change the fact that those

  subsidies, like the Low-Income Cost-Sharing Subsidies, represent a plan being

  “reimbursed . . . by the federal government” for a plan’s payment of an at-issue

  VCD (id. 130:11-131:3 (emphasis added)). Similarly, whether “[Dr. Conti] think[s]

  of” Medicare Part D payments “as being collateral payments” (id. 142:23-24) does

  not alter the entire point of CMS’s bid system, under which, by Dr. Conti’s own

  admission, “CMS help[s] to bridge the difference” “[i]f a third party payor ends up

  spending more” than they estimate they will spend (id. 126:21-127:4).

        In short, regardless of who will have the ultimate burden of proving any

  offsets at trial, and regardless of how Dr. Conti “thinks” Medicare Part D subsidies

  should be viewed, Dr. Conti’s failure to account for them renders her calculations

  unreliable and due for exclusion.



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        Second, plaintiffs misunderstand defendants’ arguments regarding the

  unreliability of IQVIA Xponent data. (See Opp’n at 35-39.) The problem is not that

  using the “different inputs” of IQVIA Xponent data and real-world transaction data

  from pharmacies leads to different damages calculations (id. at 35) or that “one data

  set is ‘better’ than the other” (id. at 37); the problem is that IQVIA Xponent data is

  an unreliable data source for the purposes Dr. Conti is trying to use it. Nothing makes

  that more clear than IQVIA’s own disclaimers—which plaintiffs do not address

  except to summarily dismiss them as irrelevant “boilerplate” (id. at 38)—specifically

  informing users like Dr. Conti that “a notable portion of pharmacies report list

  price . . . rather than the amount collected,” thus resulting in inaccurate pricing

  data, and that the data are “not intended to be used as direct evidence or to establish

  any fact” in a legal proceeding (Mem. at 26 (emphasis added) (citations omitted)).

  Boilerplate or not, the creators of the very dataset Dr. Conti used have affirmatively

  disclaimed the reliability of the data for the very purposes Dr. Conti seeks to use

  them. That IQVIA Xponent data cannot form a reliable basis for Dr. Conti’s

  calculations could not be more apparent.

        Nor are plaintiffs correct that “as the Pharmacy Defendant Data comes closer

  to IQVIA in terms of reported quantities . . . the average prices begin to more closely

  approximate each other (further reinforcing the validity of the IQVIA Xponent

  data).” (Opp’n at 36.) Plaintiffs produced a graph supposedly illustrating that



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  relationship on February 14, 2024 (weeks after Dr. Conti’s deposition and days after

  defendants had filed their motion to exclude Dr. Conti’s opinions). (See Ex. 1 to

  Cert. of Jessica Davidson.) However, even a cursory review of that graph belies such

  a relationship. For example, as the number of pharmacy pills as a percentage of total

  IQVIA pills for Teva products increases from 14.3% to 56.6%, the average prices in

  the pharmacy claims data—which represents real-world transactions—actually

  diverges further from the IQVIA Xponent data. (See id.) Further, the data for

  Torrent and ZHP’s medications is seemingly random, with some pills that are more

  represented in the IQVIA data diverging further from the IQVIA average price than

  pills that are less represented. (See id.) In short, Dr. Conti’s ipse dixit assertion about

  the average prices converging in the IQVIA and pharmacy claims data is refuted by

  the untimely “evidence” plaintiffs have produced in an attempt to bolster their

  expert’s opinions.

         Plaintiffs are also incorrect in asserting that defendants’ “own witnesses and

  experts” have espoused the reliability of IQVIA Xponent data. (Opp’n at 38

  (footnotes omitted).) For example, Hai Wang testified that IQVIA is a “benchmark”

  not for pricing, but rather for “sales information” and “marketing data.” (Dep. of Hai

  Wang 48:3-49:9, Mar. 10, 2021 (Opp’n Ex. D); Dep. of Hai Wang 499:14-502:15,

  Mar. 11, 2021 (Opp’n Ex. C).) While Dr. Lauren Stiroh did testify that she has

  worked with IQVIA’s data in the past, she also specifically cautioned that the



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  reliability of IQVIA data depends on “what it is that [she is] using it for,” and that

  the data “are supplemented by information on sales and prices from the

  manufacturers.” (Dep. of Lauren J. Stiroh, Ph.D. 81:6-83:5, Mar. 25, 2022 (Opp’n

  Ex. E).) And when Mr. Kosty was asked by plaintiffs’ counsel whether IQVIA data

  is the “gold standard,” he merely responded that IQVIA is the “leading provider” of

  data to perform specific tasks like “track the performance of [a] drug product in [a]

  sales territory.” (Kosty Dep. 134:1-15.) Plaintiffs tellingly omit Mr. Kosty’s

  testimony that “the purpose of IQVIA data is to provide trend information to market

  participants,” as well as his criticisms of Dr. Conti’s use of the IQVIA data. (Id.

  133:13-134:8, 161:8-162:14, 331:15-25.)

        Nor does the authority plaintiffs cite support the use of IQVIA Xponent data

  the way Dr. Conti does here. For example, in In re National Prescription Opiate

  Litigation, an expert considered whether manufacturers of prescription opioid

  medications could have analyzed IQVIA data to “discover[] suspicious prescribing

  activity” from physicians, not to determine an average pill price to calculate

  damages. No. 1:17-md-2804, 2019 WL 3934470, at *5 (N.D. Ohio Aug. 20, 2019).

  And plaintiffs’ reliance on cases involving some “IMS Health data” that they claim

  is “now known as IQVIA data” (see Opp’n at 38 n.8) does nothing to establish the

  reliability of IQVIA’s Xponent data, since, as Dr. Conti herself explained, “Xponent

  data is one of the data sets that IQVIA sells, among many” (Conti Class Rep. Dep.



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  163:20-164:3 (emphases added).) At best, those cases might support the reliability

  of those specific datasets for other purposes. See, e.g., In re Zyprexa Prods. Liab.

  Litig., No. 04-MD-1596, 2008 WL 2696916, at *91 (E.D.N.Y. July 2, 2008) (noting

  that “two different data sources” from IMS Health were “the National Prescription

  Audit (‘NPA’) and the National Disease and Therapeutic Index (‘NDTI’)”) (cited in

  Opp’n at 38 n.8).

        Third, plaintiffs do not even address that Dr. Conti’s use of IQVIA data

  violates her own stated methodology. As defendants pointed out in their motion, Dr.

  Conti purported to exclude claims paid by several entities to satisfy the “Valsartan

  TPP Class Definitions and Exclusions.” (See Mem. at 30; see also Expert Decl. of

  Rena Conti, Ph.D. ¶ 75, Nov. 10, 2021 (Mem. Ex. 2).) However, approximately 12%

  of the prescription drug costs in Dr. Conti’s class-wide damages calculations fall

  within the “UNKNOWN” or “UNSPEC” categories in the IQVIA data, which

  represent prescriptions that cannot be linked to a payor, PBM or plan. (See Mem. at

  31.) Because there is no way for Dr. Conti to fully exclude payments of non-class

  members using the IQVIA data, something she recognized she has to do under her

  own methodology, her use of IQVIA Xponent data does not reflect a reliable

  application of her own methodology. See Fed. R. Evid. 702(d) (an expert’s opinion

  must “reflect[] a reliable application of the principles and methods to the facts of the

  case”).



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                                   CONCLUSION

        For the foregoing reasons and those set forth in Defendants’ opening brief, the

  Court should exclude the opinions of plaintiffs’ damages expert, Rena Conti, from

  the upcoming TPP Trial.

  Dated: March 6, 2024                  Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 6, 2024, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send

  a notice of electronic filing to all CM/ECF participants in this matter.

                                                 /s/ Jessica Davidson
                                                 Jessica Davidson




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